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                 UNITED STATES DISTRICT COURT NORTHERN
                           DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE                             MDL No. 2545
REPLACEMENT THERAPY
PRODUCTS LIABILITY LITIGATION




THIS DOCUMENT RELATES TO:                        Master Docket Case No. 1:14-cv-01748
Victor Miles v. Eli Lilly & Co., et al.
Civil Action No.: 1:15-cv-09003                  Honorable Matthew F. Kennelly



                   MOTION TO WITHDRAW AS PLAINTIFF'S COUNSEL

       Plaintiff’s Counsel, Samuel Wendt of Wendt Law Firm, P.C., move this Court for leave

to withdraw as counsel for Plaintiff, Victor Miles. In support of this motion, movants state as

follows:

       1.    Samuel Wendt of Wendt Law Firm, P.C. filed an appearance on behalf of the

            Plaintiff, Victor Miles.

       2. Samuel Wendt of Wendt Law Firm, P.C. wishes to withdraw his appearance for the

            above-listed plaintiff. The reasons for the request to withdraw are stated in Exhibit A,

            an affidavit which is being filed as a sealed document only to be viewed by the Court

            and not to be viewed by counsel. Pursuant to Seventh Circuit Operating Procedure

            10(a), Samuel Wendt of Wendt Law Firm, P.C. requests this Honorable Court to

            Order Exhibit A be sealed

       3. Attached to this motion is a Notification of Party Contact Information Form.

       4. Samuel Wendt of Wendt Law Firm, P.C. is sending Notice of this motion to Plaintiff,

            Victor Miles, by U.S. Mail.
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         WHEREFORE, movants respectfully request that this Court enter an Order withdrawing

the appearance of Samuel Wendt of the Wendt Law Firm, P.C. as counsel for the Plaintiff, Victor

Miles.


         Dated this 18th day of April, 2019.


  Respectfully Submitted,
                                        WENDT LAW FIRM, P.C.


                                        /s/ Samuel M. Wendt
                                        Samuel M. Wendt, Esq.
                                        Missouri Bar
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                                        sam@wendtlaw.com
                                        Attorney for Plaintiff



                                   CERTIFICATE OF SERVICE

         I, Samuel M. Wendt, hereby certify that on April 18, 2019, the foregoing Motion to Withdraw

as Plaintiff's Counsel was filed via the Court’s CM/ECF system, which will automatically serve and

send notification of such filing to all registered attorneys of record.



                                                                /s/ Samuel M. Wendt____
                                                                Samuel M. Wendt
